1. When this case was previously before us (Mims v. Cooper,  203 Ga. 421, 46 S.E.2d 909), it was held that the original petition for cancellation of a deed, upon the ground of failure of consideration and the additional ground of fraud, failed, for the reasons set out in the opinion, to state a complete cause of action upon either ground. However, the petition did contain sufficient allegations of substance to authorize an amendment before the remittitur of this court had been made the judgment of the court below. It follows that the contention of the defendant grantee, that the effect of our previous decision was to leave the petition with nothing by which to amend, is without merit. Milton v. Milton,  195 Ga. 130 (23 S.E.2d 411). For an accepted criterion as to what constitutes enough to amend by, see Ellison v. Georgia Railroad Co., 87 Ga. 691 (13 S.E. 809); Harrell v.  Parker, 186 Ga. 760, 767 (198 S.E. 776).
2. It is the further contention of the defendants that the proposed amendment is objectionable because it attempts to add a new and distinct cause of action; the theory apparently being that the original petition was duplicitous, and that the amendment amending it in both respects had the effect of setting up a new and distinct cause of action. Even if it be true that the original cause of action was duplicitous, in that it attacked the deed on the theory both that a good deed had failed on account of a subsequent failure of consideration, and that the deed was never good because it had been procured by fraud, it will be noted that the original petition was not demurred to on the ground of duplicity, although it alleged in one count these two inconsistent theories. Since "an amendment to a petition made after the first term does not open the petition *Page 358 
to a dilatory plea unless the amendment rendered such plea available for the first time" Wardlaw v. Southern Ry. Co.,  199 Ga. 97 (4, a) (33 S.E.2d 304), and since the petition was subject to special demurrer on the ground of duplicity at the first term, the defendant cannot after the first term raise such objection by way of demurrer to an amendment which undertakes to amend the original petition as it was and to cure those defects which had been objected to and sustained by this court. Under such circumstances, the defendant will be held to have waived the defect of duplicity by failing to raise that objection at the first term, and such defect cannot now be indirectly raised on the theory that the amendment sets out a new and distinct cause of action.
3. Since it is the rule that an amendment should not be allowed if it still leaves the cause of action incomplete, the next question presented is whether or not the proposed amendment perfected the petition with respect to either or both grounds for cancellation. Dealing first with the ground based upon an alleged failure of consideration, the amendment makes the additional allegation that the grantees are insolvent. Under the following decisions of this court, failure of consideration together with insolvency of the grantee may, in a proper case, authorize a court of equity to decree cancellation. Fletcher v. Fletcher, 158 Ga. 899 (3, 7) (124 S.E. 722); Burkhalter v. DeLoach, 171 Ga. 384 (2) (155 S.E. 513); Cain v. Varnadore, 171 Ga. 497 (5) (156 S.E. 216); Harrell v. Parker, 186 Ga. 760, 769 (supra). See also Self v. Billings, 139 Ga. 400 (77 S.E. 562). Accordingly, the amendment in the instant case, by alleging insolvency of the grantees, thus perfected the petition as against general demurrer with respect to this ground for cancellation, and should, therefore, have been allowed.
4. With respect to the ground for cancellation based upon the alleged fraudulent procurement of the deed in question — the proposed amendment, which is fully set out in the statement of facts, while perhaps meeting the defect as pointed out in the previous decision of this court to the extent of alleging a connection between the grantees and the acts complained of as being fraudulent, still does not perfect the petition with respect to the additional defect as also pointed out in the previous decision, to the effect that the petition affirmatively showed that the plaintiff did not exercise ordinary diligence in the discovery of said fraud. Accordingly, as already ruled in the previous decision, a court of equity will not lend its assistance under such circumstances by decreeing cancellation. Therefore, since even had the amendment been allowed the petition would still have failed to state a cause of action for cancellation upon the ground of fraud, the allegations of the amendment in this respect were properly stricken on demurrer.
Judgment reversed in part, and affirmed in part. All the Justices concur, except Bell, J., absent on account of illness.
       No. 16286. SEPTEMBER 7, 1948. REHEARING DENIED OCTOBER 13, 1948.
              STATEMENT OF FACTS BY JENKINS, CHIEF JUSTICE.
The plaintiff grantor of a deed brought suit for cancellation, *Page 359 
alleging in one count failure of consideration, and also that the deed was procured by fraud. The petition, thus brought in one count, was apparently duplicitous, but was not demurred to on that ground. The order of the trial court overruling general demurrers to the petition was reversed on writ of error to this court (Mims v. Cooper, 203 Ga. 421). With respect to the ground of failure of consideration, this court held that the absence of any allegation of insolvency on the part of the defendants rendered this ground bad. With respect to the ground of fraud, it also was held bad, first, because the petition failed to clearly indicate a connection with such alleged acts by the defendants, and second, because the petition showed that the plaintiff had failed to exercise ordinary care in the discovery of the allegedly fraudulent acts. Before the remittitur of this court had been made the judgment of the court below, the plaintiff offered an amendment to her petition with respect to the ground of failure of consideration, by alleging that the grantees of the deed were insolvent. With respect to the ground of fraud she offered an amendment as follows: "Plaintiff shows that some time prior to the execution set out in the petition, she had made a will leaving all of her property to the said John Mims, her nephew. That shortly before March 17, 1945, her nephew, John Mims, told her that he wanted the will changed so that his wife could be included. That plaintiff had no objection, and John Mims told her he would get in touch with Mr. Brown Marshall, an attorney who had represented petitioner for years, and get him to see about it. That in the next day or two the said Mr. Marshall came to the home of petitioner, where John Mims and Mrs. John Mims were in the room with petitioner, and asked her what change she wanted made in the will. That she wanted it just like it was except that she wanted Mrs. Mims to share with John Mims. He stated to all of them he would draw the will accordingly, and on March 17, 1945, he presented the paper in question and told plaintiff it had been prepared according to her directions. Petitioner took the paper and read enough to see that Mrs. John Mims was included in it, and she relied upon Mr. Brown Marshall that it was a will. That Mr. Brown Marshall was representing both the plaintiff and the defendants, and he never presented plaintiff with bill for services, and if same *Page 360 
was paid for, it was paid for by defendants. That both defendants were present when the paper was presented to her, and Mrs. Mims cried out, `I wanted a deed and not a will.' That plaintiff, because of her age, and entire trust at that time in both defendants and the attorney who presumably represented plaintiff but was in reality representing defendants mostly and plaintiff in a very small degree, was misled fraudulently into signing said instrument under the impression that same was a will. That John Mims misled her and was a party to a fraud upon her when he wanted the old will changed so that his wife would be included, when as a matter of fact he was seeking to secure fraudulently a deed. That said Brown Marshall, attorney, was a party to the will. He drew a deed and told her that this was the desired change in the will; that Mrs. John Mims deceived petitioner when she led petitioner to believe it was a will and not a deed by saying: `I wanted a deed and not a will.' That plaintiff, not being versed in the meaning of legal terms or forms, was led to believe by the attorney, representing both and all parties, by the defendants, both of them, that the paper she executed was her last will and testament."
The defendant grantees demurred generally and specially to said amendments and objected to their allowance. The trial court sustained the demurrers and objections and dismissed the petition. The plaintiff excepts to this order.